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     Attorney for Defendant
     VI A. LE
 6

 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       )       No. CR-S-10-443-TLN
                                                     )
11
                                                     )
            Plaintiff,                               )       STIPULATION AND ORDER
12
                                                     )       CONTINUING JUDGMENT
     v.                                              )       SENTENCING
13
                                                     )
     VI A. LE,                                       )
14
                                                     )       Date: February 19, 2015
                                                     )       Time: 9:30 a.m.
15          Defendant.                               )       Judge: Troy L. Nunley
                                                     )
16
                                                     )
                                                     )
17

18

19
            The parties hereby stipulate the following:
20
            1. Judgment and sentencing in this matter is presently set for December 11, 2014.
21
                 Counsel for the parties request the date for judgment and sentencing be continued to
22
                 February 19, 2015 at 9:30 a.m. Counsel for Mr. Le needs additional time to meet
23
                 with Mr. Le, review the anticipated PSR; and, discuss the findings and
24
                 recommendations therein. Assistant U.S. Attorney Christiaan Highsmith and USPO
25
                 Paul Mamaril have been advised of this request and have no objection. The parties
26
                 request the Court adopt the following schedule pertaining to the presentence report:
27

28
                 Judgment and Sentencing date:                                     2/19/15



                                                         1
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                 Reply, or Statement of Non-Opposition:                          2/12/15
 1

 2               Motion for Correction of the Presentence Report
                 Shall be filed with the Court and served on the
 3               Probation Officer and opposing counsel no later than:           2/5/15
 4
                 The Presentence Report shall be filed with the Court
 5               And disclosed to counsel no later than:                         1/29/15

 6               Counsel’s written objections to the Presentence Report
 7
                 Shall be delivered to the probation officer and opposing
                 Counsel no later than:                                          1/22/15
 8
                 The Presentence Report shall be filed with the Court
 9               And disclosed to counsel no later than:                         1/8/15
10

11

12      IT IS SO STIPULATED.
13
     Dated: November 13, 2014                                      /s/ John R. Manning
14                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
15                                                                Vi A. Le
16

17   Dated:                                                       Benjamin B. Wagner
                                                                  United States Attorney
18
                                                          by:     /s/ Christiann Highsmith
19
                                                                  CHRISTIAAN HIGHSMITH
20                                                                Assistant U.S. Attorney

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22
                                                  ORDER

23
              IT IS SO FOUND AND ORDERED this 14th day of November, 2014.
24

25

26

27
                                                                Troy L. Nunley
28                                                              United States District Judge


                                                      2
